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                           IN THE UNITED STATES DISTRICT COURT
                               EASTERN DISTRICT OF MISSOURI
                                     EASTERN DIVISION

DELIA DE SANTIAGO LIZAMA,                       )
MICHELLE OLSEN, on behalf of                    )
themselves and all others similarly situated,   )
                                                )
         Plaintiffs,                            )   Case No. 4-22-CV-00841-RLW
                                                )
vs.                                             )
                                                )
VENUS LABORTORIES, INC. d/b/a                   )
EARTH FRIENDLY PRODUCTS                         )
                                                )
         Defendant.                             )




      MEMORANDUM IN OPPOSITION TO DEFENDANT’S MOTION TO DISMISS
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                                         INTRODUCTION

        Plaintiffs Delia De Santiago Lizama and Michelle Olsen (“Plaintiffs”) allege that, in an effort

to increase profits and to gain an advantage over its lawfully acting competitors, Defendant Venus

Laboratories, Inc. d/b/a Earth Friendly Products (“Defendants” or “Earth Friendly”) falsely and

misleadingly markets and labels its ECOS Products as “non-toxic,” “safer,” and environmentally

friendly. Dkt. 15 (“FAC”), ¶¶ 4-6. Based on this marketing and labeling, reasonable consumers,

including Plaintiffs, believe that the Products do not pose any risk of harm to humans, animals, and/or

the environment. However, the ECOS Products are not “non-toxic,” “safer,” and environmentally

friendly because they contain toxic, harmful, and environmentally damaging ingredients. Id., ¶¶ 9, 51-

52. Accordingly, Plaintiffs pursue this class action to end Defendant’s unlawful conduct.

                                            ARGUMENT

I.      DEFENDANT’S PERSONAL JURISDICTION ARGUMENT                                  INCORRECTLY
        APPLIES BRISTOL-MYERS SQUIBB TO CLASS ACTIONS

        Defendant relies on Bristol-Myers Squibb Co. v. Superior Court of California, San Francisco

City, 137 S.Ct. 1773 (2017 (“BMS”), to argue that “[p]ersonal jurisdiction does not exist for Plaintiff

Olsen’s claims, since she has no connection to this forum state.” Dkt. 23 at 3. But Defendant ignores

Swinter Group, Inc. v. Serv. Of Process Agents, Inc., 2019 WL 266299 (E.D. Mo. Jan. 18, 2019) and

Moore v. Compass Group USA, Inc., 2019 WL 4723077 (E.D. Mo. Sep. 26, 2019), two decisions of

this Court. Swinter and Moore both held that BMS does not apply to class actions, and they require the

same result here. BMS does not affect personal jurisdiction over non-Missouri class members.

        In Swinter, the plaintiff sought to certify a nationwide class of persons who were sent certain

faxes by the defendants. One defendant argued, as Earth Friendly does here, that the court lacked

specific personal jurisdiction “as to putative non-Missouri class members’ claims” under BMS.

Swinter, 2019 WL 266299 at *2. The defendant argued that the putative non-Missouri class members

were not injured in Missouri and that the plaintiff could not assert a claim against “a non-resident


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defendant in a state with no connection to their claims.” Id. But this Court stated that the defendant was

primarily relying on mass tort cases and did not cite any district courts in this Circuit that found BMS

applies to class actions, as Earth Friendly has similarly failed to do. Id.

        This Court accordingly refused to extend BMS to class actions. Id. It stated that a class action

is fundamentally different from a mass-tort case, in part because a class action has procedural

safeguards under Fed. R. Civ. P. 23, and that there “is but one ‘suit,’” as opposed to a mass action

where there are independent suits and parties. Id. This Court added that because the defendant must

already litigate the named plaintiff’s claims in this forum, there is “little hardship, as a jurisdictional

matter, for it to also litigate the nationwide class claims” and that “it promotes efficiency and

expediency to litigate all claims at once rather than to separate the nationwide class.” Id. Accordingly,

the Court followed “the better reasoned decisions declining to extend BMS to class actions…” Id. The

Court went on to find that the Supreme Court’s characterization of its holding as a “straightforward

application…of settled principles of personal jurisdiction” (BMS, 137 S.Ct. at 1783) indicates that BMS

did not require ‘a substantial limiting of that valuable [class action] tool.’” Swinter, 2019 WL 266299

at *3 (quoting Morgan v. U.S. Express, Inc., 2018 WL 3580775, at *6 (W.D. Va. July 25, 2018)).1

        Likewise, in Moore, this Court held once again that BMS does not apply to class actions and, as

a result, does not affect personal jurisdiction over non-Missouri class members. In Moore, the defendant

again argued for dismissal “to the extent it purports to state claims on behalf of putative class members

with no connection to Missouri because the Court lacks jurisdiction in light of the Supreme Court’s

opinion in [BMS].” Moore, 2019 WL 4723077, *7. In once again rejecting this argument, this Court

adopted “its analysis in Swinter and, again, notes that Congress created class actions to help ‘overcome

the problem that small recoveries do not provide the incentive for any individual to bring a solo action


1 In reaching its decision, Swinter relied on Knotts v. Nissan N. Am., Inc., 346 F. Supp. 3d 1319, 1332

(D. Minn. 2018), which similarly declined to extend BMS to class actions. As Knotts stated, most courts
to address this issue have ruled the same way due to the differences between mass tort cases and class
actions. Id. at 1332.
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prosecuting his or her rights.’” Id. at *9 (quoting Amchem Products, Inc. v. Windsor, 521 U.S. 591, 617

(1977) (internal quotation marks omitted). This Court indicated that it “is reluctant to believe that the

Supreme Court’s ‘straightforward application … of settled principles of personal jurisdiction’ in [BMS]

requires a substantial limiting of that valuable tool.” Id. (quoting Morgan, 2018 WL 3580775, at *6).

Accordingly, this Court held that it “follows Swinter and the better-reasoned decisions declining to

extend BMS to class actions and denies [defendant’s] motion to dismiss as it relates to lack of personal

jurisdiction.” Moore, 2010 WL 4723077, at *9.2 Indeed, nothing in BMS impacts personal jurisdiction

over Earth Friendly, and its argument should be rejected.

II.      PLAINTIFFS HAVE STANDING TO SUE FOR PRODUCTS NOT PURCHASED

         Defendant contends that Plaintiffs do not have standing to sue for products they did not

purchase. Dkt. 23 at 5-7. But this Court has rejected this argument. In the Eastern District of Missouri,

“the appropriate inquiry for determining if [plaintiff] has standing as to products that [plaintiff] did not

personally purchase is ‘whether there is sufficient similarity between the products purchased and not

purchased.’” Goldman v. Tapestry, Inc., 501 F.Supp.3d 662, 666, 2020 WL 6742780, at *2 (E.D. Mo.

Nov. 17, 2020) (citing Davidson v. Kimberly-Clark Corp., 2014 WL 3919857, at *6 (N.D. Cal. Aug.

8, 2014)). This Court in Goldman concluded that “plaintiffs have standing to assert claims on behalf of

a class as to products they have not purchased as long as ‘the products and alleged misrepresentations

are substantially similar.’” Goldman, 501 F.Supp.3d at 667 (citation omitted) (emphasis added).

See also In re Vizio, Inc., Consumer Privacy Litig., 238 F.Supp.3d 1204, 1218 (C.D. Cal. 2017) (noting

that “[c]ourts have taken three broad positions on how related the product purchased by the named

plaintiff and putative class members must be” and concluding that the “substantially similar” approach,

which asks “whether the plaintiff's averred injury is substantially similar to the claims of those she



2 Defendant also relies on Kostedt v. C.R. Bard, Inc., 2022 WL 292963, at *3 (E.D. Mo. Feb. 1, 2022)

in support of this argument. But Kostedt, like BMS, is a mass tort action and thus does not affect
personal jurisdiction over non-Missouri class members. Swinter, 2019 WL 266299 at *2-3; Moore,
2010 WL 4723077, at *9.
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seeks to represent,” is most consistent with Supreme Court precedent)); Moore v. Compass Group,

USA, Inc., 2022 WL 4598558, at *5 (E.D. Mo. Sep. 30, 2022) (“This Court is inclined to agree with

Plaintiff that the third approach is more appropriate than either the narrow approach represented in

Kelly [v. Cape Cod Potato Chip Co.], 81 F. Supp. 3d [754 at] 7631 [W.D. Mo. 2015)], or the broad

approach represented in Vizio, 238 F. Supp. 3d at 1281.”).

       Here, “Lizama’s purchases include, without limitation, ECOS® Hypoallergenic Laundry

Detergent–Lavender, ECOS® Hypoallergenic Dish Soap-Free & Clear, and ECOS® Hypoallergenic

Laundry Detergent-Magnolia & Lily.” FAC, ¶ 16. And “Olsen’s purchases include, without limitation,

ECOS® Hypoallergenic Laundry Detergent – Free & Clear.” Id., ¶ 18. The fact that Plaintiffs did not

purchase the remaining ECOS Products at issue that are identified in the FAC is of no event because

the misrepresentations on the labeling of those Products are substantially similar to the ones Plaintiffs

purchased. Id., ¶¶ 38, 40-41. And the misrepresentations Defendant universally makes in its marketing

and the statements on its website regarding the Products, do not differentiate between the Products

Plaintiff purchased and the remaining ECOS Products at issue. See id., ¶¶ 38-39, 42-43. Indeed,

Defendants’ labeling and marketing for each and every one of the Products that Plaintiffs purchased

and the ECOS Products identified in the FAC were falsely, misleadingly, and deceptively labeled and

marketing as “non-toxic,” “safer,” “made without known carcinogens, reproductive toxins, or

endocrine disruptors,” “climate positive,” “Earth Friendly,” and/or “sustainable” during the relevant

class period. Id., ¶¶ 4, 6, 38-43. Contrary to these representations, none of the Products at issue are

“non-toxic,” “safer,” and environmentally friendly because the Products can cause harm to humans,

animals, and/or the environment. Id. at ¶ 6. As such, Plaintiffs have standing to bring claims regarding

all of the Products identified in the FAC. Id., ¶ 4.3



3 Earth Friendly falsely claims that “few, if any,” of the ECOS Products contain any of the challenged

statements. But, as alleged in the FAC, Earth Friendly has misrepresented that the other 50-plus ECOS
Products at issue are “non-toxic,” “safer,” “made without known carcinogens, reproductive toxins, or
endocrine disruptors,” “climate positive,” “Earth Friendly,” and/or “sustainable” throughout the Class
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       Defendants’ argument to the contrary rests primarily on the reasoning of Kelly (holding plaintiff

lacked standing to bring claims for food products not purchased). 81 F. Supp. 3d at 762-63. But Kelly

was decided before Goldman, in which this Court expressly rejected the courts’ approach in Kelly to

resolve the class “standing” issue with respect to products a plaintiff did not purchase. Goldman, 501

F.Supp.3d at 667. And since Plaintiffs have standing to bring suit, this Court need not engage in a

separate standing analysis to determine whether Plaintiffs adequately represent the interests of the

putative class. Id. (citing In re SuperValu, Inc., 870 F.3d 763, 768 (8th Cir. 2017). This inquiry does

not occur until the class certification stage. Goldman, 501 F.Supp.3d at 667 (“Rather than a standing

issue, the distinction between product types may instead create an issue for the typicality of Plaintiffs’

claims or the adequacy of their representation, which is better resolved at class certification.”).

       Defendant relies on Moore in further claiming that Plaintiffs lack standing to sue for products

not purchased because Plaintiffs fail to allege any similarity between the products at issue.. In doing

so, Defendant completely misrepresents this Court’s holding in Moore and ignores Goldman’s ruling

that the distinction between product types is better resolved at class certification. 501 F.Supp.3d at 667.

        In Moore, the plaintiffs alleged that that the defendant’s single-price labeling machines were

misleading and deceptive in violation of numerous consumer protection laws because the machines did

not contain any label or other signage alerting consumers to the fact that the displayed price was a cash-

only price and card transactions would cost ten cents more per item. 2022 WL 4598558 at 3. The

plaintiffs all alleged that they purchased items from unlabeled machines. Id. They did not allege that

any of their purchases were from single price labeled machines. Id. The defendant argued that plaintiffs

lacked standing for claims for purchases made from its single price labeled machines because none of

them suffered any cognizable injury from those machines. Id.

       The Court agreed that the approach in Goldman is more appropriate in determining standing for



Period. Id., ¶¶ 38-43. Importantly, Earth Friendly fails to identify one Product that does not contain any
of the false and misleading representations.

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products not purchased than either the approach represented in Kelly, or the broad approach represented

in Vizio, but concluded that “[b]ecause Plaintiffs do not allege that they were injured by single priced

labeled machines, and because those claims do not involve ‘products and alleged misrepresentations

[that] are substantially similar’ to Plaintiff’s claims, Goldman, 501 F. Supp. 3d at 667, Plaintiffs lack

standing to bring claims based on Defendant’s single priced labeled machines.” Moore, 2022 WL

4598558 at *6. This Court reasoned that “[c]laims based on unlabeled machines and those based on

single-price-labeled machines will involve different questions of both law and fact, and success on one

will not be dispositive of the other. The evidentiary difference between showing that no label was

present and showing that a label was misleading is obvious.” Moore, 2022 WL 4598558 at *5-6.

       Moore has no relevant application to Plaintiffs’ claims here. Plaintiffs are not claiming that they

were misled one way, and then attempting to assert claims based on behalf of individuals who were

misled in a different way. Defendant misrepresents that the ECOS Products Plaintiffs did not purchase

are non-toxic, safe, and environmentally friendly in the marketing and labeling of the Products and on

Defendant’s website, all of which are substantially similar to the ones for the products Plaintiffs

purchased. As such, Plaintiffs’ claims will involve the exact same questions of both law and fact, and

success on one will be dispositive of the other. There is no evidentiary difference in showing that the

marketing and labeling of the Products the Plaintiff’s purchased was misleading and showing that the

marketing and labeling for the Products that Plaintiffs did not purchase was misleading.

       Further, Defendant’s claim that “Plaintiffs fail to allege any facts demonstrating any similarity

between the products at issue.” Dkt. 23 at 6-7. But, again, Goldman held that the distinction between

product types is better resolved at class certification. 501 F.Supp.3d at 667. Regardless, Plaintiffs

specifically allege that this action seeks to remedy Defendant’s false and misleading business practices

with respect to the marketing and sale of Earth Friendly’s household cleaning products...” FAC at ¶¶

4-5, 24, 37, 44, 106. It defies common sense to argue that all-purpose cleaners, shower cleaners,

window cleaners, toilet cleaners, laundry detergents, hand soap, dish soap, odor eliminators, or stain

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removers “have little in common.” Dkt. 23 at 6. Moreover, Defendant’s marketing and labeling of the

Products do not differentiate between its cleaners, soaps, odor eliminators or other products. Indeed,

Defendant’s marketing, along with its “Guiding Principles,” contain numerous false and misleading

representations that are made about each and every ECOS Product in general and without regard to the

different types of household cleaning products it manufactures and sells to consumers. See FAC at ¶¶

42-43. Indeed, each and every ECOS Product functions as a household cleaning product. To suggest

that there is a “vast difference” between these types of products is patently absurd.

       Finally, Defendant also attempts to claim that Plaintiffs lack standing to sue for products not

purchased because the products contain different ingredients and the impact of the ingredient

differences cannot be ignored. Dkt. 23 at 6-7. But Defendant does not cite any law in support of this

assertion. And, this argument was specifically rejected in Goldman, because Plaintiffs “[have] not

alleged that [they were] injured by any of the specific items [they] purchased.” 501 F.Supp.3d at 667.

Rather, any injury Plaintiffs suffered were caused by the misrepresentations on the labeling of the

Products, and in the marketing, advertising, and statements on Defendant’s website, all of which are

substantially similar to the representations Plaintiffs relied on in making their purchases. Id.; FAC, ¶¶

17, 19. Thus, the Court should not dismiss Plaintiffs’ claims concerning products they did not purchase.

III.   PLAINTIFF LIZAMA STATES A CLAIM UNDER THE MMPA

       Defendant claims that Lizama fails to state a claim under the Missouri Merchandising Practices

Act (“MMPA”) because she has not alleged any loss or damages and all of the ingredients at issue were

disclosed on the product labels, undoing any claim of deception. Dkt. 23 at 7-11. But Lizama has

adequately alleged an ascertainable loss because the FAC specifically alleges that the products she

purchased were worth less than the products she thought she had purchased had Earth Friendly’s false

and misleading representations been true. And courts in Missouri have rejected Earth Friendly’s

argument that a Plaintiff who reads and relies on a product’s label eliminates any consumer deception

caused by labeling misrepresentations. Thus, Lizama states a claim under the MMPA.


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A.       Plaintiff Lizama Suffered an Ascertainable Loss

       As an initial matter, Defendant claims that Lizama’s MMPA claim fails because she fails to

allege facts showing any actual loss. Dkt. 23 at 8-9. While Defendant concedes that Lizama’s damages

are measured by the benefit of the bargain rule, it completely misrepresents how Missouri courts apply

that rule in this type of case. Id. Under Missouri law, a plaintiff must show that she “suffered a pecuniary

loss in order to prevail on her MMPA claim.” Kelly, 81 F. Supp. 758. The benefit of the bargain rule

allows a purchaser “to be awarded the difference between the actual value of the property and what its

value would have been if it had been as represented.” Id.; see also Plubell v. Merck & Co., 289 S.W.3d

707. 715 (Mo. App. W.D. 2009) (benefit of the bargain rule is “applicable in MMPA cases to meet the

element of ascertainable loss”). As such, Lizama’s allegations in her FAC that she suffered damages

because the products she purchased were worth less than the products she thought she had purchased

had Defendant’s non-toxic,” “safer,” “made without known carcinogens, reproductive toxins, or

endocrine disruptors,” “climate positive,” “Earth Friendly,” and/or “sustainable” representations been

true establish an ascertainable loss under the MMPA. FAC, ¶ 90.

       In Kelly, the plaintiff alleged that she purchased chips that were represented as “natural” when

they in fact contained synthetic preservatives. She therefore alleged that the chips were worth less than

they were represented to be. In finding these allegations sufficient to allege ascertainable loss, the court

held that “Plaintiff need only allege that the actual value of the product purchased was less than the

value of the product as represented to state a claim for an ascertainable loss.” Kelly, 81 F. Supp. at 758.

“Thus, Plaintiff’s Petition, alleging that the Chips as purchased were worth less than as represented

sufficiently states that she has suffered an ascertainable loss under the MMPA at this stage of the

litigation.” Id.; See also Plubell, 289 S.W.3d at 715 (“because Plaintiffs alleged Vioxx was worth less

than the product as represented, they stated an objectively reasonable loss under the MMPA using the

benefit-of-the-bargain rule”); Robertson v. Conopco, Inc., Case No. 2:15-cv-04006-MJW, Dkt. 22

Order at 9 (W.D. Mo. Aug. 31, 2015) (plaintiff pled a plausible theory of damages where FAC pled

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that, ‘[b]ecause the Products are not ‘natural’ as they represented to be, the Products as sold were worth

less than the Products as represented, and Plaintiff and class members paid more for them then they

would have had the truth [been] known.’”).

       Here, Lizama satisfies the ascertainable loss standard in Kelly because she pleads all of these

elements. FAC, ¶¶ 2, 14, 62, 90, 101-102, 105-106, 117, 133, 149, 163. Lizama alleged in her FAC that

she and the Class Members paid a premium for the Products based on Earth Friendly’s representations

that they are non-toxic, safe, and environmentally friendly, and suffered economic damages, in that the

products she and other Missouri Subclass Members purchased were worth less than the products they

thought they had purchased had Defendant’s representations been true. Id. As a result, Plaintiff and the

Class Members suffered an injury in the amount of the purchase price and/or the premium paid because

the actual value of the Products as purchased was less than the value of the Products as represented. Id.

Under clear Missouri authority, Lizama has adequately alleged ascertainable loss.

       Defendant, however, takes issue with these allegations “because Lizama fails to allege that the

detergent and dish soap she bought were worth less than the price she paid, she has not alleged any loss

or damages.” Dkt. 23 at 9.4 But, as the court in Kelly made clear in rejecting these arguments, such

allegations are not necessary:

        Defendants also argue that Plaintiff has failed to allege the amount of the price
        premium or what Defendants’ Chips should have cost…Again, however, under the
        benefit of the bargain rule as applied to MMPA claims, Plaintiff need only allege that
        the actual value of the product as purchased was less than the value of the product as
        represented to state a claim for ascertainable loss.
        Whether Plaintiff can present evidence to show the amount of her damages is a
        question of fact to be tested by summary judgment or trial, not by a motion to dismiss.

81 F. Supp. at 758; Clement v. St. Charles Nissan, Inc., 103 S.W.3d 898, 900 (Mo. App. E.D. 2003)



4 Defendant also claims that Lizama “has not even alleged that she could have bought comparable

products elsewhere for less money.” Dkt. 23 at 9. In doing so, Defendant is seeking to impose the
requirement of a price-value differential that has been repeatedly and explicitly rejected by the Missouri
Supreme Court. Kendrick v. Ryus, 225 Mo. 150, 123 S.W. 937, 940 (1909) (explaining that the benefit
of the bargain rule is intended to fulfill a defrauded party’s full expectations, regardless of whether they
received something worth the price paid).
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(Whether Plaintiff “can present evidence to show the amount of her damages is a question of fact to be

tested by summary judgment or trial, not by a motion to dismiss.”). See, e.g., Robertson, Dkt. 22 Order

at 9-10 (“Defendant further argues that Plaintiff has failed to plead how much ‘more’ she paid for the

Products; what the ‘actual value’ of the Products is; what the value of the Products would have been if

they ‘had been as advertised’; and whether a cheaper comparable product exists…The Court finds that

here, Plaintiff has plausibly alleged an ascertainable loss, sufficient to survive a motion to dismiss[.]”);

Thornton, 2016 WL 4073713, at *4.

       Defendant then cites a series of irrelevant cases involving products with undisclosed regulatory

violations or undisclosed risks that had not manifested themselves. Dkt. 23 at 9 (quoting and citing

Mikhlin v. Johnson & Johnson, 2014 WL 6084004, at *3 (E.D. Mo. Nov. 13, 2014); Polk v. KV Pharm.

Co., 2011 WL 6257466, at *5 (E.D. Mo. Dec. 15, 2011)). The damages theory in each of those cases

was that, because the defendant did not disclose the risk of the products or previous regulatory

violations, plaintiffs paid more for the products than they would have had the risks/violations been

disclosed, despite the fact that the products worked as advertised and the supposed risks had not

manifested themselves. In each instance the court rejected this theory of ascertainable loss because each

plaintiff failed to allege they got anything other than what they paid for. In other words, the alleged

MMPA violations related to the risks/violations associated with the products, and not the “nature and

quality” of the products themselves.5

B.     Plaintiff Lizama’s MMPA Claims Readily Satisfies the Reasonable Consumer Standard

       In an argument better served by a motion for summary judgment, Defendant argues that Plaintiff

Lizama “has not plead a deception, misrepresentation, omission, or half-truth” under the MMPA


5 See Mikhlin, 2014 WL 6084044 at * 3 (where plaintiffs contend that they would not have purchased

and used Johnson's Baby Powder had they known about the undisclosed increased ovarian cancer risk,
the plaintiffs received 100% use (and benefit) from the products and have no quantifiable damages);
Polk, 2011 WL 6257466, at *5 (no damages where plaintiff alleges only that the product purchased
was “adulterated” under the FDA's current good manufacturing practices, and did not allege
“misrepresentations of the nature and quality of the product purchased” or that the product was
“anything other than what it has always purported to be”).
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because, “[a]pplying the reasonable standard here, all of the ingredients allegedly it issue were,

indisputably, clearly, and accurately disclosed on the product labels, undoing any claim of deception.”

Dkt. 23 at 10. Such an argument is flawed both as a matter of procedure and of substance.

       A reasonable consumer’s interpretation of a labeling claim is not something that can be

determined at the motion to dismiss stage. Yet Defendant requests that this Court take the extraordinary

step of deciding a salient fact question (although it attempts to disingenuously posit the inquiry as a

question of law), and determine that no reasonable consumer would be misled by the Defendant’s

statements that its Products are “non-toxic,” “safer,” “made without known carcinogens, reproductive

toxins, or endocrine disruptors,” “climate positive,” “Earth Friendly,” and/or “sustainable” when they

contain ingredients that can cause harm to humans, animals, and/or the environment because all of the

ingredients are disclosed on the product labels. Dkt. 23 at 10-11. Defendant makes this request despite

the fact that Missouri courts have consistently rejected the notion that a court can decide this issue on

a motion to dismiss. Moreover, this case does not represent a “rare circumstance” that would justify an

early determination of whether a reasonable consumer would be deceived. See Thornton, 2016 WL

4073713, at *3 n.3 (“Whether a reasonable consumer would be deceived by a product label is generally

a question of fact that cannot be resolved on a motion to dismiss,” and noting that the case is not one

of the “rare situations” in which a court will find a lack of deception as a matter of law). Contrary to

Defendant’s assertion, this case does not represent a situation where Plaintiff has pled

misrepresentations on which no consumer could conceivably rely. See Dkt. 23 at 9-11. Instead, as

alleged, Lizama and a similarly situated class of consumers were misled by the representations

regarding the Products nature and quality on the Products’ labeling and packaging. FAC, ¶¶ 38-49. For

purposes of an initial pleading, Lizama has adequately alleged her claim.

       Defendant argues that a reasonable consumer would not have been deceived because the

product’s ingredient list clearly disclosed the disputed ingredients and therefore the packaging was not

misleading. Dkt. 23 at 10-11. But courts in Missouri, including this one, have rejected Defendant’s

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argument that a Plaintiff who reads and relies on a product’s label eliminates any consumer deception

caused by labeling and packaging misrepresentations.

       In Thornton, the plaintiff alleged that the defendant misrepresented that its muffin mix

contained “Nothing Artificial” when, in fact, it contained artificial, synthetic substances. 2016 WL

4073713, at *1. The defendant argued that a reasonable consumer would not have been deceived

because the product’s ingredient list clearly disclosed the disputed ingredients and therefore the

packaging was not misleading. Id. at 2. This Court rejected defendant’s argument, holding that “the

mere presence of an ingredient statement on the back of a product does not eliminate the possibility

that reasonable consumers may be misled, and that the effect that an ingredient statement may have on

a reasonable consumer’s understanding of advertising and product labels involves a factual inquiry.”

Id. at 3 (citing Blue Buffalo Co. v. Nestle Purina Petcare Co., 2015 WL 3645262, at *5 (E.D. Mo. June

10, 2015); Robertson, Inc., 2:15-cv-04006-MJW (Dkt. 36 at 10) (“reasonable consumers could still be

deceived or misled by certain products despite their having an ingredient list on the package.”); Murphy

v. Stonewall Kitchen, LLC, 503 S.W.3d 308, 312-13 (Mo. Ct. App. 2016) (“The FDA does not require

an ingredient list so that manufacturers can mislead consumers and then rely on the ingredient list to

correct those misrepresentations and provide a shield from liability for that deception… the ‘ingredient

list’ defense cannot, as a matter of law, defeat an MMPA claim.”).

       Importantly, Defendant fails to cite any case law in support of this argument. Instead, it makes

the blanket assertion that “[t]he label disclosures are fatal to Lizama’s claims: the ingredients are

accurately listed, undoing any claim of an MMPA prohibited practice.” Dkt. 23 at 10. But that assertion

is in direct contradiction to the law in in Missouri. Thus, Defendant’s attempts to dismiss Lizama’s

MMPA claims should be denied.

IV.    PLAINTIFF OLSEN SUFFICIENTLY                      STATES      CALIFORNIA          CONSUMER
       PROTECTION CLAIMS

       Defendant argues that Plaintiff Olsen’s claims pursuant to California’s Unfair Competition Law

(“UCL”) and False Advertising Law (“FAL”) fail because she cannot plead equitable claims in the
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alternative here. Dkt. 23 at 12 (citing Sonner v. Premier Nutrition Corp., 971 F.3d 834, 841-45 (9th

Cir. 2020)). But that is a complete misrepresentation of both California law and Olsen’s FAC. The only

requirement at the pleading stage to state a claim under the UCL and FAL is that “a plaintiff must

specifically allege she lacks an adequate legal remedy for her UCL claim to survive a motion to

dismiss.” Bruno v. U.S. Renal Care, Inc., 2022 WL 2439525, at 7 (C.D. Cal. Jul. 5, 2022) (emphasis

added) (citing Sonner, 971 F.3d at 844 (dismissing UCL claim because “the operative complaint does

not allege that [plaintiff] lacks an adequate legal remedy”); Johnson v. Trumpet Behavioral Health

LLC, 2022 WL 74163, at *3 (N.D. Cal. Jan. 7, 2022) (citing Sonner, 971 F.3d at 844 ) (“But the

fundamental thing that Sonner, by its own terms, requires at the pleadings stage is that the complaint

‘allege that [the plaintiff] lacks an adequate legal remedy.”) (emphasis added).

       Here, Olsen did exactly that in alleging numerous times in the FAC that she has “no adequate

remedy at law” for her UCL and FAL claims. FAC, ¶¶ 185, 192, 204, 215, 229. Defendant admits as

much. Dkt. 23 at 12, fn. 9. That is all that is required under Sonner at the pleading stage. Indeed, Olsen

did not plead in the alternative here. As such, Defendant’s reliance on Phan v. Sargento Foods, Inc. is

completely irrelevant. Dkt. 23 at 12. Defendant’s reliance on Sonner demonstrates that Olsen states a

claim under the UCL and FAL. Indeed, Defendant fails to cite any law in support of its contention that

Olsen’s UCL and FAL claims fail. The Court should reject this argument.

       Next, Defendant contends that Olsen has not adequately alleged damages in support of her UCL,

FAL, and Consumer Legal Remedies Act (“CLRA”) claims “because she has not alleged that she did

not get the benefit of the bargain for the product she purchased.” Dkt. 23 at 12-13.6 That is not true.



6 As a threshold matter, Defendant argues that Olsen’s CLRA claim must be dismissed for failure to

follow the statute’s venue-affidavit requirement. Dkt. 23 at 11. The CLRA requires a plaintiff to
concurrently file with the complaint an “affidavit stating facts showing that the action has been
commenced in a county described in this section as a proper place for the trial of the action.” Cal. Civ.
Code § 1780(d). Failure to file this affidavit requires that the claim be dismissed without prejudice. Id.
But the CLRA's venue-affidavit requirement is a state procedural rule inapplicable in federal court
because “application of the requirement does not have a significant impact on the outcome of the case.”
Villa Lara v. LG Electronics U.S.A., Inc., 2018 WL 3748177, *6 (D. Minn. Aug. 7, 2018) (citing Evans
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Plaintiff Olsen alleges that she purchased the Products at a premium price based on her reading of Earth

Friendly’s marketing, advertising, and labeling. Pleading economic injury under California law requires

a plaintiff to allege that the label at issue “caused the product to be sold at a higher price.” Davidson v.

Kimberly-Clark Corp., 889 F.3d 956, 966 (9th Cir. 2018).

       Here, Olsen makes a litany of allegations in the FAC that she and the California Subclass “paid

an unwanted premium for these Products” and “have suffered injury in fact and have lost money as a

result of Defendant’s “unfair,” “fraudulent,” and “unlawful conduct.” FAC, ¶¶ 185, 193, 205, 288. They

paid for products that they believed were non-toxic, safe, and environmentally friendly when, in fact,

they were not. Id. Olsen and the California Subclass “would not have purchased the Products, or paid

substantially less for the Products, if they had known that they were not not-toxic, safe, and

environmentally friendly.” Id.

       These allegations are more than sufficient to suffice the plausibility standard. Robie v. Trader

Joe’s Company, 2021 WL 2548960, at *6 (N.D. Cal. Jun. 14, 2021) (citing Chavez v. Blue Sky Natural

Beverage Co., 340 F. App'x 359, 361 (9th Cir. 2009) (holding that under the UCL, FAL, and CLRA,

sufficient injury pled when plaintiff alleged “he did not receive what he had paid for” and “he would

not have paid had he known the truth”); Davidson, 889 F.3d at 965 (“[T]he economic injury of paying

a premium for a falsely advertised product is sufficient hard to maintain a cause of action.”). See also

Kwikset Corp. v. Superior Court, 51 Cal. 4th 310, 329 (2011) (“For each consumer who relies on the

truth and accuracy of a label and is deceived by misrepresentations into making a purchase, the

economic harm is the same: the consumer has purchased a product that he or she paid more for than he

or she otherwise might have been willing to pay if the product had been labeled accurately.”).

         Finally, Defendant repeatedly argues that no reasonable consumer could be misled by its

labeling because the ingredients are disclosed on the ingredients list on the back of the products. Dkt.


v. Linden Research, Inc., 763 F. Supp. 2d 735, 738 n.1 (E.D. Pa. 2011); see also Sandoval v.
PharmaCare US, Inc., 145 F. Supp. 3d 986, 999 (S.D. Cal. 2015).

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23 at 13. But Defendant’s arguments that the ingredient list on the Products clear up any misconception

is contrary to California law. Courts in California have repeatedly held that a defendant’s argument that

“any ambiguity is … dispelled by the explicit list of ingredients elsewhere on the product is foreclosed

by Williams v. Gerber Products Co., 552 F.3d 934 (9th Cir. 2008).” Fagan v. Neutrogena Corp., 2014

WL 92255, at *2 (C.D. Cal. Jan. 8, 2014); see also, e.g., Jou v. Kimberly-Clark Corp., 2013 WL

6491158, at *8 (N.D. Cal. Dec. 10, 2013) (“under Williams, a defendant cannot rely on disclosures on

the back or side panels of the packaging to contend that any misrepresentation on the front of the

packaging is excused”). In Williams, the Ninth Circuit explained that “reasonable consumers expect

that the ingredient list contains more detailed information about the product that confirms other

representations on the packaging.” 552 F.3d 934, 939–40. Therefore, an ingredient list should not

“shield [a manufacturer] from liability for the deception” caused by misleading representations on a

product's labeling. Id.; see also Yumul v. Smart Balance, Inc., 733 F.Supp.2d 1117, 1129 (C.D. Cal.

2010) (“Williams stands for the proposition that where product packaging contains an affirmative

misrepresentation, the manufacturer cannot rely on the smallprint nutritional label to contradict and

cure that misrepresentation.”).7 Here, Olsen alleges that the “non-toxic,” “safer,” and environmentally

friendly representations on the Products' labeling contradicts the actual contents of the Products because

they contain ingredients that can cause harm to humans, animals, and/or the environment.8

       In Madenlian v. Flax USA, Inc., 2014 WL 7723578, *4 fn. 7, (C.D. Cal. March, 31, 2014), the

court found that the only two cases cited by Defendant in support of this argument are inapposite



7 Defendant’s reliance on Moore v. Mars Petcare US, Inc., 966 F.3d 1007, 1017 (9th Cir. 2020) is

irrelevant because “[t]he standard articulated in Moore is no different than the standard” in Williams.”
Cheslow v. Ghirardelli Chocolate Company, 497 F.Supp.3d 540 (N.D. Cal. Oct. 29, 2020) (citing
Williams, 552 F.3d at 939-40). Here, Plaintiffs allege that the ingredient list on the back label conflicts
with the Products deceptive front labels and additional statements on the back of the packaging.
8 Defendant will likely argue that this rule does not apply because it disagrees that the front labeling is

misleading. But it does not contend that the challenged ingredients (which are only disclosed in the
ingredients list) are “non-toxic,” “safer,” and/or environmentally friendly. Therefore, this is not a case
where the Court can conclude, as a matter of law, that the front and back labels are consistent. Here,
Defendant’s argument turns on a factual dispute about how consumers construe the front labeling.
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because they involve products in which the allegedly deceptive labeling was not in fact inconsistent

with the ingredients of the products at issue. Id. (citing Hairston v. South Beach Beverage Co., 2012

WL 1893818, at *5 (C.D. Cal. May 18, 2012) (noting that the ingredient list was consistent with the

front label statement of “all natural with vitamins”).9

 Thus, Plaintiff Olsen’s sufficiently states California consumer protection clams.

V.     PLAINTIFFS ADEQUATELY ALLEGE THAT THE PRODUCTS ARE NOT NON-
       TOXC, SAFER, AND/OR ENVIRONMENTALLY FRIENDLY

       Defendant contends that “Plaintiffs’ FAC is nothing but speculation layered on conjecture”

based on a FAC that “launch[es] a myriad of objections to dozens of ingredients, in dozens of products,

calling them unsafe.” Dkt. 23 at 13-14. Specifically, Defendant argues that “Plaintiffs cannot simply

list ingredients, contemplate a parade of horribles, and hope to survive the heightened pleading

standards of Rule 9(b).” Id. Defendant’s argument, however, applies an improper standard that looks

to evidence of facts, rather than pled facts taken as true, and relies on a case from New York where the

plaintiff’s complaint merely stated that the challenged products’ non-toxic claims were false “upon on

information and belief” that their ingredients were harmful, as opposed to Plaintiffs’ FAC that

specifically identifies numerous ingredients which are toxic by definition under federal law, and cites

to studies and public health authorities that have concluded that the Products contain numerous

ingredients that are toxic, carcinogenic, and harmful to humans, animals and/or the environment.

       As an initial matter, Defendant’s repeated insistence that Plaintiffs must, at this early stage,

conclusively “show” that the Products are toxic, unsafe, and harmful to the environment is

inappropriate because it misconstrues the relevant procedural standard on a Rule 12(b)(6) motion to

dismiss. “Plaintiff is not required to prove her allegations to survive a 12(b)(6) motion to dismiss.

Rather, a plaintiff need only plead factual allegations which, taken as true, indicate a plausible claim

for relief.” Nishimoto v. Cty. of San Diego, 2017 WL 2709742, at *5 (S.D. Cal. June 20, 2017) (citing


9 Defendant also relies on Viggiano v. Hansen Natural Corp., 944 F.Supp.2d 877, 982 n.38 (C.D. Cal.

2013), which cites Hairston, in support of its argument.
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Rule 12(b)(6) and Twombly, 550 U.S. at 556-57). For purposes of evaluating a motion to dismiss, “[t]he

complaint must be liberally construed in the light most favorable to the plaintiff.” Coleman v. Watt, 40

F.3d 255, 258 (8th Cir. 1994). The court should only dismiss those claims for which it appears “beyond

a doubt that the plaintiff can prove no set of facts which would entitle the plaintiff to relief.” Holden

Farms, Inc. v. Hog Slat, Inc., 347 F.3d 1055, 1059 (8th Cir. 2003). At this early stage, Plaintiffs have

pled ample facts, including evidence showing the ingredients in the Products are toxic, harmful,

dangerous, and environmentally damaging (FAC, ¶¶ 51-52); see also, infra), and Defendant’s

contention that the specific amounts, concentrations, forms, and conditions of those ingredients may

not be toxic or harm the environment is a question of fact for experts to ultimately weigh in on at

summary judgment or trial. See, e.g., Bush v. Rust-Oleum Corp., 2021 WL 24842, at *5 (N.D. Cal.

Jan. 4, 2021) (“Moreover, Rust-Oleum characterizes the plaintiff's claim as a challenge to the

ingredients in the product (which may be toxic), regardless of whether the product itself is toxic and

causes harm. The plaintiff counter[s] that the ingredients are relevant to whether the product poses a

risk of harm. These are not questions that can be resolved on a motion to dismiss.”).

       Indeed, courts in analogous cases, where the plaintiffs allege that certain products’ “non-toxic”

or environmentally friendly labeling claims are false because specified ingredients pose a risk of harm

to people, animals, or the environment, have found that the mere identification of those harmful

ingredients in the complaint was sufficient to state a false advertising claim under Rule 9(b), as

answering the question if those ingredients are harmful reaches beyond the pleadings to the evidence

underlying the facts pled. See, e.g., Bush, 2021 WL 24842, at *5; In re S.C. Johnson & Son, Inc. Windex

Non-Toxic Litig., 2021 WL 3191733, at *6 (N.D. Cal. July 28, 2021) (“[I]t is not the Court’s role to

determine on a motion to dismiss whether the Products are in fact toxic. It is enough at this stage that

Plaintiffs have alleged that the Products ‘contain certain ingredients, which, at their given

concentrations in the Products, can cause harm to humans, animals, and/or the environment,’ and that

Plaintiffs detail the specific ingredients.”). Plaintiffs allege as much. FAC, ¶¶ 50-52.

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         Moreover, in making this argument, Earth Friendly completely ignores the litany of specific

allegations in Plaintiffs’ FAC that detail why the ingredients are toxic and harmful, including

identifying ingredients which are toxic by definition under federal law, and citations to studies and

public health authorities that have concluded that the Products contain numerous ingredients that are

carcinogenic, not safe, and harmful to humans, animals and/or the environment. Earth Friendly takes

issue with the ingredient acetic acid which is an ingredient in only one (1) of the ECOS Products and

claims that it is vinegar. Dkt. 23 at 14. But if the acetic acid ingredient in Earth Friendly’s Products is

just “vinegar,” then why not simply list “vinegar” as the ingredient in the Product? And Plaintiffs’

FAC specifically alleges that acetic acid “is classified by multiple federal laws as a hazardous and toxic

substance.” FAC, ¶ 51.a. Indeed, numerous ingredients in the ECOS Products are “toxic by definition

under federal law.” Id. ¶¶, 51.w. 10, 51.y.; 51.ee., 51.gg., 51.ii. Plaintiffs also cite to several studies that

demonstrate the that the ingredients in the ECOS Products are toxic and harmful to the environment.

Id., 51.q., 51.u., 51.w., 51.hh. And Plaintiffs cite to numerous public health and safety organizations

that have determined that many of the ingredients in the ECOS Products are toxic, carcinogenic,

harmful, and environmentally damaging. Id., ¶¶ 51.a., 51.c., 51.q., 51.r., 51.t., 51.w., 51.x., 51.y., 51.hh.

         Yet Earth Friendly gripes that Plaintiffs “simply lists ingredients” in “calling them unsafe.” Dkt.

23 at 13-14. Not so. These allegations are more than sufficient to demonstrate that Earth Friendly

“greenwash” its Products by deceptively claiming that its household cleaning products are “non-toxic,”

“safer,” and environmentally friendly. No product labeled “non-toxic,” “safer,” “made without known

carcinogens, reproductive toxins, or endocrine disruptors,” “climate positive,” “Earth Friendly,”



10  Phenoxyethanol is one of the ingredients used in thirty-seven (37) of the ECOS Products.
Phenoxyethanol is toxic by definition under federal law, based on animal testing demonstrating that the
substance is lethal even in very small doses. It is toxic to the kidneys, the nervous system, and the liver.
It degrades into substances that are even more toxic. It is a Category 2 germ cell mutagen, meaning that
it is suspected of mutating human cells in a way that can be transmitted to children conceived after
exposure. Phenoxyethanol is an ethylene glycol ether, which is known to cause wasting of the testicles,
reproductive changes, infertility, and changes to kidney function. Phenoxyethanol is also Category 2
carcinogen, meaning that it is suspected to induce cancer or increase its incidence. Id., ¶¶ 10, 55.y.
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and/or “sustainable” should contain any of the ingredients identified in the FAC. FAC, ¶ 52.

       The only case that Earth Friendly relies on in support of this improper argument is Rivera v.

S.C. Johnson & Son, Inc., 2021 WL 4392300 (S.D.N.Y. Sept. 24, 2021). In Rivera, the court dismissed

the plaintiff’s “non-toxic’ claims regarding household cleaning products because “the Complaint does

not adequately allege that the Products are toxic.” Id., at *5. The plaintiff’s complaint merely alleged

that the ingredients in the products at issue were toxic and harmful “upon information and belief.”

Exhibit 1, ¶¶ 25-29, 36-43. The Rivera FAC did not detail why the ingredients were toxic, did not allege

whether any of the ingredients were toxic by definition under federal law, and failed to cite to any

studies or public health authorities that have concluded that the ingredients in the product at issue were

toxic, not safe, and harmful to the environment. See id. As such, Rivera is completely irrelevant to

Plaintiffs’ allegations. Thus, Plaintiffs have adequately alleged at the pleadings stage that the ECOS

Products contain ingredients that are toxic, not safe, and harmful to the environment.

VI.    PLAINTIFFS SUFFICIENTLY STATE A CLAIM FOR BREACH OF WARRANTIES

       Defendant’s arguments for dismissal of the breach of warranty claims again rehashes its

arguments concerning the sufficiency of Plaintiff’s allegations that the ECOS Products are not non-

toxic, safer, and/or environmentally friendly, and allegations that Plaintiffs consumer protection claims

fail because they suffered no injury. Dkt. 23 at 15-16. The Court should therefore deny dismissal of

these claims for the same reasons set forth above. See Sections III., IV., and V., supra.

       Defendant also claims that Plaintiffs’ breach of implied warranty claim fails for the additional

reason that Plaintiffs allege that the ECOS Products are “unfit for the ordinary purpose.” Dkt. 16. But

Defendant incorrectly states the law. Plaintiff’s implied warranty claim is predicated on Mo. Rev. Stat.

§ 400.2-314(2)(f) and the U.C.C.’s provision for implied warranties of merchantability, as adopted by

California, which states that merchantable goods must “conform to the promises or affirmations of fact

made on the container or label if any.” Mo. Rev. Stat. § 400.2-314(2)(f); U.C.C. § 2-314; FAC, ¶ 246.

A plaintiff may state a claim for breach of implies warranty under any prong of Mo. Rev. Stat. § 400.2-


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314(2) and U.C.C. § 2-314. See Grantham v. Wal-Mart Stores, Inc., 2012 WL 12898186, at *10-11

(W.D. Mo. Feb. 28, 2012) (“Plaintiff can prove [defendant] breached the implied warranty of

merchantability by showing the [product]: (a) was not fit for the ordinary purposes for which it is used;

(b) was not adequately contained, packaged, or labeled; or (c) did not conform to the promises or

affirmations of fact made on the container or label.”) (emphasis added); Perez v. Monster, Inc., 149

F. Supp. 3d 1176, 1185 (N.D. Cal. 2016) (same). Therefore, Plaintiffs need not allege or show that the

Product is not “fit for the ordinary purpose” for which it is used. Here, Plaintiffs allege that the Products

contained misleading representations on their labels and therefore do “not conform to the promises or

affirmations of fact” made on the container or label. FAC, ¶ ¶ 245-246. That is sufficient.

VII.    PLAINTIFFS STATE A CLAIM FOR FRAUD AND PLAINTIFFS’ ALLEGATIONS
        ARE SUFFICIENT UNDER RULE 9(B)

        Defendant’s arguments for dismissal of the Plaintiffs’ fraud claims rehashes its arguments that

Plaintiffs have not plead a material misrepresentation because Plaintiffs fail to allege that the Products

are not non-toxic, safer, and/or environmentally friendly, and that Plaintiffs consumer protection claims

fail because they suffered no injury. Dkt. 23 at 17-18. The Court should therefore deny dismissal of the

fraud claims for the same reasons set forth above. See Sections III., IV., and V., supra.

       Defendants also contend that Plaintiffs’ claims should be dismissed for failure to satisfy Rule

9(b). Dkt. 23 at 17-18. Claims based on fraudulent conduct must be accompanied by the who, what,

where, when, and how of the misconduct charged. BJC Health Sys. v. Columbia Cas. Co., 478 F.3d

908, 917 (8th Cir. 2007). “[W]here the plaintiff identifies particular statements alleged to be misleading,

the basis for contention, where the statements appear, and the relevant time period in which statements

were used” Rule 9(b) is met. Thornton, 2016 WL 4073713\ at *13-14 (citing omitted)); Kearns v. Ford

Motor Co., 567 F.3d 1120, 1125-26 (9th Cir. 2009). As set forth below, Plaintiffs’ allegations satisfy

the 9(b) pleading requirement because they lay out the specific circumstances of the fraud.

• Who: Plaintiffs specifically identified Defendant Earth Friendly as the entity responsible for the
  misrepresentations regarding the Products. FAC, ¶¶ 4-6, 20.

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• What: Plaintiffs have alleged the misleading representations with adequate detail. Plaintiffs alleged
  that “Earth Friendly’s marketing materials are replete with statements that the Products are non-toxic,
  safe, and environmentally friendly” and “the labeling for the Products claims that they are ‘non-toxic,’
  ‘safer,’ ‘made without known carcinogens, reproductive toxins, or endocrine disruptors,’ ‘climate
  positive,’ ‘Earth Friendly,’ and/or ‘sustainable.’” Id. ¶¶ 38-49.
• When:.“During the Class Period, Plaintiff[s] Lizama” and “Olsen [have] purchased ECOS Products
  for personal, family, or household use...” Id., ¶¶ 16, 18. See Thornton, 2016 WL 4073713 at *11 (the
  “when” satisfied by allegation that purchases were made during the five years preceding filing of the
  complaint); In re ConAgra Foods, Inc., 908 F. Supp. 2d 1090, 1100 (C.D. Cal. 2012) (“requiring that
  Plaintiff allege specific dates on which they saw the representations is not necessary or realistic.”).11
• Where: Plaintiffs allege the specific location where they purchased the Products. Id., ¶16, (“from a
  Whole Foods Market in St. Louis County”); Id., ¶ 18 (“from a Whole Foods Market in Pasadena,
  California.”). Furthermore, Plaintiffs allege the locations of the deceptive representations regarding
  the Products. Id., ¶¶ 17, 19. Plaintiffs purchased the ECOS Products because they saw the labeling,
  advertising, the Defendants’ website, and read the packaging, which represented that the Products
  were as “non-toxic,” “safer,” “made without known carcinogens, reproductive toxins, or endocrine
  disruptors,” “climate positive,” “Earth Friendly,” and/or “sustainable.” Id. Thornton, 2016 WL
  4073713 at *11 (the “where” was “on the label of the Mix”).
• How: “In an effort to increase profits and to gain an advantage over its lawfully acting competitors,
  Earth Friendly falsely and misleadingly markets and labels the Products as “nontoxic,” “safer,” “made
  without known carcinogens, reproductive toxins, or endocrine disruptors,” “climate positive,” “Earth
  Friendly,” and/or “sustainable.” Contrary to these representations, the Products are plainly not “non-
  toxic,” “safer,” and environmentally friendly because the Products can cause harm to humans,
  animals, and/or the environment. This marketing and labeling deceives consumers into believing that
  they are receiving non-toxic, safe, and environmentally friendly Products, but Earth Friendly’s
  Products do not live up to these claims.” FAC, ¶ 6, 50-52. Thornton, 2016 WL 4073713 at *11 (the
  “how” is that the product claims to have “Nothing Artificial” but contains synthetic ingredients).

       Defendant also claims that “the FAC states nothing to support fraudulent intent.” Dkt. 23 at 18.

That is false. Again, the FAC specifically alleges that “consumers have become significantly more

aware of and sensitive to the toxicity and impact of household products on the environment,” and that

[c]onsumers seek, and will pay a premium for,” products that are safe and…will not negatively affect

the environment.” FAC, ¶¶ 2. “As a result, demand has increased for ‘green’ products that are non-

toxic, safe, and environmentally friendly.” Id., ¶ 3. Because of this, “[i]n an effort to increase profits

and to gain an advantage over its lawfully acting competitors, Earth Friendly falsely and misleadingly

markets and labels the Products as ‘nontoxic,’ ‘safer,’ and environmentally friendly. FAC, ¶ 6. Thus,


11 Despite the fact that Plaintiffs specifically allege that they purchased the Products “[d]uring the Class

Period” from a “Whole Foods Market” in St. Louis County and Pasadena, California, respectively,
Defendant still insists that Plaintiffs have not “sufficiently identif[ied] the date(s) or place(s) of
purchase.” Dkt. 23 at 18. But that is clearly contrary to Missouri and California law.

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Plaintiffs have met the Rule 9(b) standard and states a claim for fraud.

VIII. PLAINTIFFS STATE A CLAIM FOR UNJUST ENRICHMENT AND NEGLIGENT
      MISREPRESENTATION

       Defendant’s arguments for dismissal of the unjust enrichment and negligent misrepresentation

claims again rehashes its arguments that Plaintiff’s consumer protection claims fail because Plaintiffs

were not deceived and got what was promised. Dkt. 23 at 16-19. The Court should therefore deny

dismissal of these claims for the same reasons set forth above. See Sections III., IV., and V., supra.

       Defendant also claims that Plaintiffs’ unjust enrichment “claims should be dismissed because

Plaintiffs’ have an adequate remedy at law. Dkt. 23 at 17. But a plaintiff is entitled to bring an unjust

enrichment claim as an alternative ground for relief, even if plaintiff may have an adequate remedy at

law. Thornton, 2016 WL 4073713, at *4 (denying motion to dismiss unjust enrichment and MMPA

claims, holding that the claims could be pled in the alternative); Hawkins v. Nestle U.S.A., Inc., 309 F.

Supp. 3d 696, 708 (E.D. Mo. Feb. 16, 2018) (“It is generally permissible to pursue alternative theories

at the pleading stage, and courts generally permit unjust enrichment claims to proceed alongside a

properly-pled MMPA claim.”); Sloan v. GM LLC, 2017 WL 3283998, at *10 (N.D. Cal. Aug. 1, 2017)

(under Fed. R. Civ. P. 8(d) and Ninth Circuit law, a party is permitted to assert inconsistent alternative

claims for relief). Accordingly, Plaintiffs’ unjust enrichment claim is adequately pled.

IX.    PLAINTIFF HAS STANDING TO SEEK INJUNCTIVE RELIEF

       Defendant contends that Plaintiffs lacks standing to pursue injunctive relief because “they are

now aware of the ingredients and therefore could avoid any future injury.” Dkt. 23 at 19.12 But courts

in Missouri have specifically rejected Defendant’s argument that once a plaintiff learns of the alleged

deception, the labeling is no longer misleading and there can be no ongoing or future harm. Bratton v.

Hershey Company, 2017 WL 2126864, at *9-10 (W.D. Mo. May 16, 2017) (“the fact that [plaintiff]



12 Defendant also again claims that Plaintiffs’ lack standing to seek injunctive relief because they

already have an adequate remedy at law. Dkt. 23 at 19. The Court should therefore reject this argument
for the same reasons set forth above. See Sections IV., VII., supra.

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discovered [defendant’s] allegedly unlawful practice does not make the packaging less misleading, nor

mean that the practice is not ongoing.” Plaintiff’s allegations regarding his likelihood of purchasing the

products in the future if defendant was to cease its deceptive practices, were sufficient.); Hawkins v.

Nestle U.S.A. Inc., 2018 WL 746304, at *8 (E.D. Mo. Feb. 7, 2018) (“the fact that Plaintiff discovered

Defendant’s allegedly unlawful practice does not make the packaging less misleading, nor mean that

the practice is not ongoing. Plaintiff need plead nothing more to survive a motion to dismiss...”); Parker

v. Wal-Mart Stores, Inc., 367 F. Supp. 3d 979, 986 (E.D. Mo. 2019) (rejecting the same argument by

defendant and adopting the Hawkins analysis); White v. Just Born, Inc., 2017 WL 3130333, at

*10 (W.D. Mo. Jul. 21, 2017) (court found the plaintiff pled a threat of ongoing or future harm despite

plaintiff's awareness of defendant's conduct because the alleged conduct is ongoing and unlawful).

       Here, regardless of Plaintiffs’ current knowledge about the deception, Plaintiffs have attested

that they would purchase the Products in the future if the deception was cured. FAC, ¶¶ 17, 19. Further,

Plaintiff’s awareness of the fraud does not halt Defendants’ unlawful conduct, nor does it prohibit

Defendant from deceiving other class members who are not aware of the deception. Accordingly, this

Court should follow Bratton, et. al., and reject Defendant’s “awareness” argument, and find that

Plaintiffs have standing to pursue injunctive relief. To hold otherwise would thwart the purpose of the

Missouri’s consumer protection law. See Berry v. Volkswagen Grp. of Am., Inc., 397 S.W.3d 425, 433

(Mo. 2013) (the MMPA’s “remedial measures are designed not only to remedy violations of the

MMPA, but also prospectively to deter prohibited conduct and protect Missouri citizens.”).

X.     THIS COURT SHOULD DEFER RULING ON DEFENDANT’S CHALLENGE TO
       STANDING

       Defendant argues that the claims of class members from other states should be dismissed for

lack of standing, but it ignores the widely recognized “logically antecedent” doctrine, which requires

deferring ruling on standing of class members until the class certification stage of the case. Although

there is no controlling decision by the Eighth Circuit, this Court has held numerous times that such a

decision on standing should be deferred.
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        The legal dispute that is at the crux of this argument derives from Amchem and Ortiz v.

Fibreboard Corp., 527 U.S. 815 (1999), which make clear that where “class certification issues are ...

‘logically antecedent’ to Article III concerns...Rule 23 certification should be treated first, ‘mindful that

[the Rule’s] requirements must be interpreted in keeping with Article III constraints....’” Ortiz, 527

U.S. at 831 (quoting Amchem, 521 U.S. at 613-613). In Buchta, this Court engaged in a thorough

analysis of whether such a decision on standing should be deferred and held that “this issue is best

addressed through the requirements of Rule 23.” 2019 WL 4468943, at *4. Likewise, in Moore, this

Court agreed with the judge’s “well-reasoned analysis in Buchta and finds that the decision of class

certification is logically antecedent to a determination of standing that can best be addressed thought

the requirements of Rule 23. Consequently, the Court will defer ruling on this issue until the class

certification stage.” 2019 WL 4723077 at *7 (citing Thomas v. U.S. Bank, N.D., 2012 WL 12897284

at *9 (W.D. Mo. Sept. 27, 2012) (“the prudent course to address these issues is at the class certification

stage.”)). Accordingly, the Court can and should reject Defendant’s arguments on procedural grounds.

        Here, Defendant does not dispute that Plaintiffs have standing to bring their individual claims

for breach of warranties, unjust enrichment, negligent misrepresentation, and fraud. Instead, Defendant

claims that standing is “claim-specific,” and therefore Plaintiffs must demonstrate that they also have

standing to bring separate “claims” under the laws of other states. But there are two problems with that

argument. The first is that it does not fit within any of the traditional three elements of standing—injury,

traceability, and redressability—which have never posed a high bar to justiciability anyway. See

Spokeo, Inc. v. Robins, 136 S. Ct. 1540, 1547 (2016); Sosna v. Iowa, 419 U.S. 393, 403 (1974) (once a

named plaintiff establishes individual standing, the examination shifts “from the elements of

justiciability to the ability of the named representatives to fairly and adequately protect the interests of

the class”). Plaintiffs satisfy each of those elements regardless of whether they represent out-of-state

class members. Second, the “essential” issue in standing is whether the “representative parties…have

a direct and substantial interest” in the “dispute.” Warth v. Seldin, 422 U.S. 490, 498 (1975) (the

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“essential” question of standing “is whether the litigant is entitled to have the court decide the merits

of the dispute or of particular issues”). The dispute in a false labeling case like this one is the same for

Plaintiffs and out-of-state class members because Defendant’s conduct was uniform and likely affected

consumers in every state in a similar fashion.

       Finally, the only Eighth Circuit case that Defendant cites is Donelson v. Ameriprise Fin. Servs.,

Inc., 999 F.3d 1080, 1092 (8th Cir. 2021), which is completely irrelevant because it did not involve

consumer protection clams and it did not address whether a plaintiff had standing to pursue claims

under the laws of other states. In Donelson, the court held that a district court may grant a motion to

strike class-action allegations prior to the filing of a motion for class-action certification “because not

only was it apparent from the pleadings that [the plaintiff] could not certify a class but also the class

allegations were all that stood in the way of compelling arbitration.” Id. The court reasoned that

“permitting such allegations to remain would prejudice the defendant” because “delaying the decision

on whether [the plaintiff] could certify a class would needlessly force the parties to remain in court

when they previously agreed to arbitrate.” Id. Here, it is apparent from the pleadings that Plaintiffs

could certify a national class because, again, Defendant’s false and misleading representations affected

consumers uniformly. And there is no prejudice to Defendant because there is no agreement to

arbitrate.13 Thus, Courts in the Eighth Circuit, including this one, typically deny as premature motions

to strike class allegations filed significantly in advance of any possible motion for class certification.

E.g., Moore, 2019 WL 4723077, at *6; Buchta, 2019 WL 4468943, at *4.

                                             CONCLUSION

       For all the foregoing reasons, Plaintiffs respectfully requests that this Court deny Defendant’s

Motion to Dismiss or, alternatively, grant Plaintiffs leave to amend.



13 Moreover, courts within the Eighth Circuit recognize that the tactic of making a peremptory attack

on class allegations as part of a motion to dismiss is disfavored and seldom, if ever, to be granted.
Walker v. World Tire Corp., Inc., 563 F.2d 918, 921 (8th Cir. 1977) (“The propriety of class action
status can seldom be determined on the basis of the pleadings alone...”)
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                                              Respectfully submitted,

                                              Orlowsky Law, LLC


                                              /s/ Daniel J. Orlowsky_____________
                                              Daniel J. Orlowsky, #57387MO
                                              7777 Bonhomme Ave., Suite 1910
                                              St. Louis, Missouri 63105
                                              Phone: (314) 725-5151
                                              Fax: (314) 455-7375
                                              dan@orlowskylaw.com

                                              Attorney for Plaintiffs


                                              Goffstein Law, LLC

                                              /s/ Adam M. Goffstein
                                              Adam M. Goffstein, #45611MO
                                              7777 Bonhomme Ave., Suite 1910
                                              St. Louis, Missouri 63105
                                              Phone: (314) 725-5151
                                              Fax: (314) 455-7278
                                              adam@goffsteinlaw.com

                                              Attorney for Plaintiffs


                                   CERTIFICATE OF SERVICE
       I hereby certify that on November 2, 2022, the foregoing was filed electronically with the
Clerk of Court and served via the Court’s electronic filing system to all attorneys of record.


                                              /s/Daniel J. Orlowsky




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